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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  TERESA TODERO, as Special Administrator)
  of the Estate of CHARLES TODERO,       )
                                         )
                             Plaintiff,  )
                                         )
                  v.                     ) Cause No. 1:17-cv-1698-TWP-MJD
                                         )
  CITY OF GREENWOOD, BRIAN BLACKWELL, )
  RENEE ELLIOTT and ELIZABETH LAUT,      )
                                         )
                             Defendants. )

                             MOTION FOR SUMMARY JUDGMENT

          Come now the defendants, City of Greenwood, Renee Elliott, and Elizabeth Laut, and

  pursuant to Rule 56 and L.R. 56-1 move for summary judgment in their favor and against the

  plaintiff, and in support thereof, state as follows:

          1.      This is a wrongful death claim arising out of the death of plaintiff’s decedent,

  Charles Todero. The plaintiff, by her complaint, alleges that Todero died due to complications

  resulting from having been subject to multiple taser deployments by defendant Brian Blackwell.

  The claim against defendants Elliott and Laut alleges they failed to intervene to prevent

  Blackwell’s use of the taser and/or otherwise exercised excessive force upon Todero while

  attempting to handcuff him. The complaint also pleads a Monell claim against the City of

  Greenwood, a section 1983 claim alleging conspiracy, as well as various state law claims.

          2.      Elliott and Laut are entitled to summary judgment on plaintiff’s section 1983

  claim as their conduct was objectively reasonable as a matter of law, and they are otherwise

  entitled to qualified immunity. The City of Greenwood is entitled to summary judgment on

  plaintiff’s Monell claim as it did not abide by an unconstitutional custom, nor was the city’s
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  policymaking authority deliberately indifferent to training needs. The conspiracy claim also fails

  as a matter of law.

         3.      As to the state law claims, they should be dismissed in their entirety as against the

  individual defendants pursuant to Ind. Code § 34-13-3-5(b). The survival claim should also be

  dismissed on summary judgment as such a claim cannot be maintained under Indiana law

  simultaneously with a wrongful death claim. The state law claims for assault and battery and

  intentional infliction of emotional distress should also be dismissed as the plaintiff cannot pursue

  a survival action while pursuing a wrongful death action, plus the intentional infliction claim is

  barred by statutory immunity, Ind. Code § 34-13-3-3(8).

         4.      In further support of their motion, defendants submit their tender and designation

  of evidence and memorandum of law.

         WHEREFORE, the defendants, City of Greenwood, Renee Elliott and Elizabeth Laut,

  move for summary judgment in their favor and against the plaintiff.

                                                Respectfully submitted,

                                                STEPHENSON MOROW & SEMLER


                                                s/ James S. Stephenson
                                                James S. Stephenson
                                                Attorney No. 11434-98
                                                Attorney for defendants,
                                                City of Greenwood, Renee Elliott,
                                                and Elizabeth Laut




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 13, 2018, a copy of this document was filed electronically.

  Notice of this filing will be sent to the following persons by operation of the court's electronic

  filing system. Parties may access this filing through the court's system.

                                Arthur Loevy
                                arthur@loevy.com
                                D. Samuel Heppell
                                sam@loevy.com
                                Jonathan I. Loevy
                                jon@loevy.com
                                Steven E. Art
                                steve@loevy.com
                                Vince Field
                                vince@loevy.com
                                LOEVY & LOEVY
                                311 North Aberdeen, 3rd Floor
                                Chicago, IL 60607

                                Caren L. Pollack
                                cpollack@pollacklawpc.com
                                Lana R. Swingler
                                lswingler@pollacklawpc.com
                                Zachary J. Stock
                                zstock@pollacklawpc.com
                                POLLACK LAW FIRM, P.C.
                                10333 N. Meridian Street
                                Suite 111
                                Indianapolis, IN 46290


                                                s/ James S. Stephenson
                                                James S. Stephenson

  STEPHENSON MOROW & SEMLER
  3077 East 98th Street, Suite 240
  Indianapolis, IN 46280
  Telephone: (317) 844-3830
  Fax: (317) 573-4194
  E-mail: jstephenson@stephlaw.com



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